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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS


ANDREW CORZO, SIA HENRY, ALEXANDER
LEO-GUERRA, MICHAEL MAERLENDER,
BRANDON PIYEVSKY, BENJAMIN
SHUMATE, BRITTANY TATIANA WEAVER,
and CAMERON WILLIAMS, individually and on
behalf of all others similarly situated,

                   Plaintiffs,
      v.

BROWN UNIVERSITY, CALIFORNIA                 Case No.: 1:22-cv-00125
INSTITUTE OF TECHNOLOGY, UNIVERSITY
OF CHICAGO, THE TRUSTEES OF
COLUMBIA UNIVERSITY IN THE CITY OF           Hon. Matthew F. Kennelly
NEW YORK, CORNELL UNIVERSITY,
TRUSTEES OF DARTMOUTH COLLEGE,
DUKE UNIVERSITY, EMORY UNIVERSITY,
GEORGETOWN UNIVERSITY, THE JOHNS
HOPKINS UNIVERSITY, MASSACHUSETTS
INSTITUTE OF TECHNOLOGY,
NORTHWESTERN UNIVERSITY,
UNIVERSITY OF NOTRE DAME DU LAC,
THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY,
and YALE UNIVERSITY,

                   Defendants.


    PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
PRELIMINARY APPROVAL OF SETTLEMENTS WITH DEFENDANTS TRUSTEES
OF DARTMOUTH COLLEGE, NORTHWESTERN UNIVERSITY, WILLIAM MARSH
     RICE UNIVERSITY, AND VANDERBILT UNIVERSITY, PROVISIONAL
CERTIFICATION OF THE PROPOSED SETTLEMENT CLASS, APPROVAL OF THE
     REVISED NOTICE PLAN, AND APPROVAL OF THE SCHEDULE FOR
               COMPLETING THE SETTLEMENT PROCESS
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                                               INTRODUCTION

         Plaintiffs have executed settlement agreements with four additional Defendants: Trustees

of Dartmouth College (“Dartmouth”), Northwestern University (“Northwestern”), William

Marsh Rice University (“Rice”), and Vanderbilt University (“Vanderbilt”) (these settling

Defendants collectively, the “Third Tranche Settling Universities” or “Third Tranche Settling

Defendants;” and these settlements, the “Third Tranche Settlements”). As Plaintiffs did with the

Second Tranche Settlements,1 Plaintiffs similarly request that the Court combine the approval

process for all Settlements2 to date into a single notice plan and schedule for efficiency purposes

and to avoid Class member confusion.

         The four Third Tranche Settlements collectively provide $166 million in cash payments

for the benefit of the Settlement Class, and combined with the Second Tranche Settlements and

the University of Chicago Settlement (together, $118 million), all ten Settlements achieved to

date provide $284 million in aggregate cash payments for the benefit of the Settlement Class.

Like the earlier settling Defendants, each Third Tranche Settling Defendant has also agreed to

complete certain additional, limited discovery.

         The Third Tranche Settlements account for materially higher cash payments than the

earlier settlements in this case. Other than that key fact, they are substantively similar to the

Second Tranche Settlements and the University of Chicago Settlement in that they: (i) provide

cash payments for the benefit of the Settlement Class; (ii) seek certification of the same


1
  The term “Second Tranche Settlements” refers to the settlement agreements with Defendants Brown University
(“Brown”), The Trustees of Columbia University in the City of New York (“Columbia”), Duke University
(“Duke”), Emory University (“Emory”), and Yale University (“Yale”). The terms “Second Tranche Settling
Universities” and “Second Tranche Settling Defendants” refer to the group comprised Brown, Columbia, Duke,
Emory, and Yale.
2
  The term “Settlements” refers to all executed settlement agreements to date, specifically the settlements with the
University of Chicago, the Second Tranche Settling Universities, and the Third Tranche Settling Universities.
                                                          1
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Settlement Class; (iii) include similar agreements by each Third Tranche Defendant to provide

additional discovery; (iv) adopt the same Revised Plan of Allocation; (v) include the materially

similar releases; (vi) propose the same Class Representatives and Settlement Class Counsel; and

(vii) adopt the same Revised Notice Plan with a minor revision to include information about the

Third Tranche Settlements; among other similar provisions. The Third Tranche Settlements

could have been included as part of the motion to preliminarily approve the Second Tranche

Settlements but for the additional time needed to execute final settlement agreements with each

Third Tranche Settling Defendant.

         Because Plaintiffs rely upon the same arguments and facts they presented with their prior

preliminary approval motions, and to avoid repetition, they hereby incorporate as if set forth

herein: (a) Plaintiffs’ brief in support of preliminary approval of the Second Tranche Settlements

(ECF No. 603-1); and (b) Plaintiffs’ brief for preliminary approval of the University of Chicago

Settlement where it addresses provisional class certification (ECF No. 428-1, at 24-33).

         A form of proposed order is also submitted with this motion that uses the same language

as the proposed order submitted with Plaintiffs’ motion for preliminary approval of the Second

Tranche Settlements, except: (i) approval of the Revised Notice Plan is amended to apply to all

Settlements to date; (ii) the end of the Class Period for the proposed Settlement Class is amended

to the same date (i.e., the date of preliminary approval for the Third Tranche Settlements) for all

the Settlements to date; (iii) the proposed schedule for settlement approval is amended to apply

to all Settlements to date; and (iv) the approved forms of class notice are amended to include

information about all of the settlements to date, including the Third Tranche Settlements.3



3
 The amended summary and long-form notices are attached to the Declaration of Steven Weisbrot, Esq.
of Angeion Group LLC re Amending the Proposed Revised Notice Plan for the Third Tranche
                                                 2
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       Plaintiffs submit this Memorandum of Law in support of preliminary approval of the

Third Tranche Settlements (including provisional certification of the proposed settlement class,

approval of the revised notice plan, and approval of the revised allocation plan), and approval of

the (further) revised schedule for completing the settlement process for all ten Settlements.

Additional background information relating to the Third Tranche Settlements and the revised

schedule is provided in the following section.

                          THE THIRD TRANCHE SETTLEMENTS

       On September 9, 2023, the Court preliminarily approved Plaintiffs’ proposed class

settlement with Defendant University of Chicago. See ECF No. 439 (“University of Chicago

Preliminary Approval Order”). The University of Chicago Settlement included a cash payment

of $13.5 million. On January 23, 2024, Plaintiffs moved for preliminary approval of the Second

Tranche Settlements (ECF No. 603), which the Court granted on February 14, 2024 (ECF No.

614). Those included:

           •   Emory: $18.5 million

           •   Yale: $18.5 million

           •   Brown: $19.5 million

           •   Columbia: $24 million

           •   Duke: $24 million




Settlements (“Feb. 20, 2024 Weisbrot Decl.”) at Exs. A (Amended Summary Notice) & B (Amended
Long-Form Notice).
                                                 3
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         Plaintiffs now move for preliminary approval of settlement agreements with each of the

below Third Tranche Settling Defendants (collectively referred to as the “Third Tranche

Settlement Agreements”):4

            •   Dartmouth: $33.75 million.

            •   Rice: $33.75 million.

            •   Northwestern: $43.5 million.

            •   Vanderbilt: $55 million.

         As noted above, all ten Settlements achieved to date provide $284 million in aggregate

cash payments for the benefit of the Settlement Class and each Settling Defendant has agreed to

complete certain additional, limited discovery. Together with the earlier settlements, these Third

Tranche Settlements constitute an excellent result both in absolute terms and given that the

litigation continues against the remaining seven non-settling Defendants,5 each of which is

jointly and severally liable for any and all provable damages suffered by the class. See Feb. 22,

2024 Joint Decl. ¶ 8 (also citing January 23, 2024 Joint Declaration (ECF No. 603-2)).

         As with the University of Chicago and the Second Tranche Settling Universities,

Plaintiffs entered into the Third Tranche Settlement Agreements after two years of hard-fought

litigation, including significant fact discovery, and after roughly 16 weeks of extensive arm’s

length negotiations with each of the Third Tranche Setting Defendants. Id. ¶¶ 10-11. Some of the

negotiations occurred between Plaintiffs and a single Defendant, and some took place between

Plaintiffs and a pair of Defendants. Certain of the Third Tranche Settlements were achieved with


4
  The Third Tranche Settlement Agreements are attached at Exhibits 8-11 to the Joint Declaration of
Settlement Class Counsel, dated February 22, 2024 (“Feb. 22, 2024 Joint Decl.”), filed in support of this
Motion.
5
  “Defendants” is defined in each Settlement Agreement at pp. 1-2. See Exhibits 8-11 of the Feb. 22, 2024
Joint Decl.
                                                    4
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the able assistance of renowned mediator, former U.S. District Court Judge Layn Phillips and his

colleagues Miles Ruthberg and Clay Cogman at Phillips ADR. Id. ¶ 11.

         The Third Tranche Settlements also reflect Plaintiffs’ successful strategy of increasing

the settlement amounts with each successive agreement or set of agreements. Id. ¶ 12. This

approach was designed to put pressure on the non-settling Defendants to settle imminently or

risk having to pay significantly more by waiting. It also accounted for certain Defendants

asserting claimed unique defenses. When examining all ten Settlements in order of the date that

agreements to settle in principle were reached, it shows that the first settlements in principle

amongst the Second Tranche Settling Defendants include payments by Emory and Yale of $18.5

million each, whereas the final settlement in principle as part of the Third Tranche Settling

Defendants is with Vanderbilt for a cash payment of $55 million. Id. Each of the Third Tranche

Settlements includes payment amounts that are greater than the highest payment from a Second

Tranche Settling Defendant (i.e., higher than Columbia and Duke, which were $24 million each).

Id.

         In their motion for preliminary approval of the Second Tranche Settlements, Plaintiffs

proposed a consolidated notice plan for all the Settlements reached as of the date of that motion

(i.e., the Revised Notice Plan). See ECF No. 603-1, at 25-27; see generally ECF No. 603-10 (the

Jan. 23, 2024 Weisbrot Decl.). Plaintiffs now propose to update that plan to include the Third

Tranche Settlements.6 The proposal is to implement the Revised Notice Plan but with amended

forms of notice and an amended schedule for completing the settlement process. The proposed

amended notices are identical to the notices submitted for preliminary approval of the Second


6
 In their brief for preliminary approval of the Second Tranche Settlement, Plaintiffs stated it was their intention that
all the Settlements would proceed together, and specifically referenced the settlement agreement with Vanderbilt,
which was not final at that time. ECF No. 603-1, at 5.
                                                           5
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Tranche Settlements except they are revised to add information about the Third Tranche

Settlements. Compare ECF Nos. 603-11 (Ex. A, Revised Summary Notice) & 603-12 (Ex. B,

Revised Long Form Notice) with Feb. 20, 2024 Weisbrot Decl. Exs. A (Amended Summary

Notice) & B (Amended Long Form Notice). To effectuate a unified notice program, Plaintiffs’

proposed order for preliminary approval of the Third Tranche Settlements provides that (i) the

schedule for administering the Settlements adopted by the proposed order expressly applies to

the Second Tranche Settlements and the University of Chicago Settlement, and (ii) the end of the

Class Period for the proposed Settlement Class for the Second Tranche Settlements and the

University of Chicago Settlement shall be the date of preliminary approval for the Third Tranche

Settlements (i.e., setting the same Class Period for the Settlement Class across all Settlements).

This plan will be efficient and straightforward for Settlement Class members, and it will avoid

the costs and likely confusion associated with issuing seriatim notices.

       Accordingly, Plaintiffs propose the following schedule for the remainder of the

settlement approval process for all Settlements, and respectfully request that the Court enter a

proposed order, which has been submitted to the Court, providing as follows:

       1.      Provisional certification of the proposed Settlement Class;

       2.      Provisional appointment of Plaintiffs as Class Representatives;

       3.      Appointment of Plaintiffs’ counsel as Settlement Class Counsel for the proposed
               Settlement Class;

       4.      Preliminary approval of the proposed Third Tranche Settlement Agreements;

       5.      Conforming the Class Period for the Settlement Class definition applicable to the
               University of Chicago Settlement Agreement and the Second Tranche Settlements
               to the Class Period applicable to the Third Tranche Settlements;

       6.      Directing notice to the Settlement Class be conducted pursuant to the Revised
               Notice Plan (ECF No. 603-10), but using the amended long-form and summary
               notices submitted with the Feb. 20, 2024 Weisbrot Decl.;

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       7.      Pursuant to 34 C.F.R. § 99.37(a), finding that mailing addresses and email
               addresses in education records of current students of a Defendant constitute
               “directory information” and may be disclosed, without consent, to the Settlement
               Claims Administrator for purposes of providing class notice in this litigation if (a)
               the Defendant has previously provided public notice that the mailing addresses
               and email addresses are considered “directory information” that may be disclosed
               to third parties including public notice of how students may restrict the disclosure
               of such information, and (b) the student has not exercised a right to block
               disclosure of current mailing addresses or email addresses (“FERPA Block”).
               Defendants shall not disclose from education records mailing addresses or email
               addresses subject to a FERPA Block;

       8.      Pursuant to 34 C.F.R. § 99.37(b), finding that mailing addresses and email
               addresses in education records of former students of a Defendant constitute
               “directory information” and may be disclosed, without consent, to the Settlement
               Claims Administrator for purposes of providing class notice in this litigation,
               provided that each Defendant continues to honor any valid and un-rescinded
               FERPA Block created while a student was in attendance;

       9.      Preliminary approval of the Revised Plan of Allocation (ECF No. 603-9) as also
               applicable to the Third Tranche Settlements;

       10.     Appointment of Angeion Group as Settlement Claims Administrator;

       11.     Appointment of The Huntington National Bank (“Huntington”) as Escrow Agent
               for the funds from all the Settlements achieved to date and approval of the
               Custodian/Escrow Agreement for Third Tranche of Settlements, dated Feb. 21,
               2024, attached at Exhibit 12 to the Feb. 22, 2024 Joint Decl.);

       12.     Approval and establishment of the Settlement Fund under the Settlement
               Agreement as a qualified settlement fund (“QSF”) pursuant to Internal Revenue
               Code Section 468B and the Treasury Regulations promulgated thereunder;

       13.     Staying of all litigation activity against the Settling Universities on behalf of the
               Settlement Class pending final approval or termination of the Settlements; and

       14.     Approval of a proposed schedule for the Settlements, including the scheduling of
               a Fairness Hearing during which the Court will consider: (a) Plaintiffs’ request for
               final approval of all Settlements and entry of a proposed order and final judgment;
               (b) Plaintiffs’ counsel’s application for attorneys’ fees, reimbursement of
               expenses, service awards, and payment of administrative costs; and (c) Plaintiffs’
               request for dismissal of this action only against the Settling Universities with
               prejudice.

       Counsel for the parties involved in these Third Tranche Settlement Agreements are

highly experienced in antitrust litigation and well-positioned to assess the risks and merits of the
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case. Plaintiffs have reasonably concluded that the proposed cash settlements for the Third

Tranche Settlements—indeed, for all Settlements to date (both individually and collectively)—are

in the best interests of the Settlement Class given that, if finally approved, the Settlements would

assure the Settlement Class of a significant cash recovery without diminishing the joint and

several liability of the remaining non-settling Defendants. The Third Tranche Settlement

Agreements, like those before them, also provide Plaintiffs with the benefit of obtaining certain

additional discovery from each of the Third Tranche Settling Universities. See Feb. 22, 2024

Joint Decl. ¶ 13.

       The Third Tranche Settlements avoid the inherent risks of summary judgment, trial, and

potential appeal, while preserving the ability to recover all the damages allegedly suffered by the

Settlement Class from the remaining non-settling Defendants. See id. ¶ 8. For the reasons

discussed herein, and those incorporated from Plaintiffs’ briefs for the prior preliminary approval

motions, the Third Tranche Settlements satisfy the requirements for preliminary approval. See id.

                                         CONCLUSION

       Plaintiffs respectfully request, for the foregoing reasons, that the Court grant Plaintiffs’

Motion and enter the proposed Order (in the form attached to the Motion).



 Dated: February 23, 2024                             Respectfully Submitted,

 By:/s/ Robert D. Gilbert                             /s/ Edward J. Normand
 Robert D. Gilbert                                    Devin “Vel” Freedman
 Elpidio Villarreal                                   Edward J. Normand
 Robert S. Raymar                                     Peter Bach-y-Rita
 David Copeland                                       Richard Cipolla
 Steven Magnusson                                     FREEDMAN NORMAND
 Natasha Zaslove                                        FRIEDLAND LLP
 GILBERT LITIGATORS &                                 99 Park Avenue
  COUNSELORS, P.C.                                    Suite 1910
 11 Broadway, Suite 615                               New York, NY 10016
                                                  8
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New York, NY 10004                               Tel: 646-970-7513
Phone: (646) 448-5269                            vel@fnf.law
rgilbert@gilbertlitigators.com                   tnormand@fnf.law
pdvillarreal@gilbertlitigators.com               pbachyrita@fnf.law
rraymar@gilbertlitigators.com                    rcipolla@fnf.law
dcopeland@gilbertlitigators.com
smagnusson@gilbertlitigators.com
nzaslove@gilbertlitigators.com

/s/ Eric L. Cramer
Eric L. Cramer                                   Daniel J. Walker
Ellen Noteware                                   Robert E. Litan
David A. Langer                                  Hope Brinn
BERGER MONTAGUE PC                               BERGER MONTAGUE PC
1818 Market Street, Suite 3600                   2001 Pennsylvania Avenue, NW
Philadelphia, PA 19103                           Suite 300
Tel: 215-875-3000                                Washington, DC 20006
ecramer@bm.net                                   Tel: 202-559-9745
enoteware@bm.net                                 rlitan@bm.net
dlanger@bm.net                                   dwalker@bm.net
                                                 hbrinn@bm.net
Richard Schwartz
BERGER MONTAGUE PC
1720 W Division
Chicago, IL 60622
Tel: 773-257-0255
rschwartz@bm.net


                  Counsel for Plaintiffs and the Proposed Settlement Class




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